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lN THE UNITED STATES DISTRICT COURT
FOR 'I`HE. DIS'I`RICT OF NORTH DAKOTA, SOUTHWESTERN DIVISION

Auto-Owners lnsurance Company,

Plaintiff, Case No.

VS.

DW Excavating, lnc., Stenehjem
Development, LLP., KLC of Willmar, Inc.,
and Travelers Insurance Company d)*br‘a
Travelers lnsurance

\-/\_/\_/\_/\_/\\-_/\\._/M-/\\_/\-/\\.-/\_/

Defendants.

 

AUTO-OWNERS lNSURANCE COMPANY’S
COMPLAINT FOR DECLARATORY RE]_.IEF

 

[l] COMES NOW the Plaintiff, Auto-Owners Insurance Cornpany (hereinafter
“Auto-Owners"), by and through its counsel of record, Michael .I. Morley, of Morley Law Firm,
Ltd., Grand Forks, North Dakota, and states against the Defendants DW Excavating, lnc.
(hereinafter “DWE”), Stenehjem Development, LLP (hereinaher “Stenehjem”), KLC of
Willmar, Inc. (hereinafter “KLC of Willmar”), and Travelers Insurance Company d/bfa Travelers
lnsurance (hereinafter “Travelers Insurance”) as its Complaint for Declaratory Relief as follows:

NA'I`URE OF THE ACTION

[2] This is an insurance coverage action. Auto-Owners seeks a declaratory judgment
from the Court concerning its and others’ rights and obligations regarding insurance coverage
under a policy or policies of insurance issued by Auto-Owners to DWE.

[3] On or about July 25, 2015, DWE and Stenehjem entered into a contract for the

performance of water, storm sewer, sewer, and roadway improvements on a development project

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owned by Stenehjem and known as Fox Hills Golf Estates (hereinafter “Fox Hills"), in Watford
City, North Dakota.

[4] On or about December 30, 2015, after performing work in accordance with the
contract it entered into with Stenehjem, DWE invoiced Stenehjem for $13,826 for work
performed under the contract and owed to DWE by Stenehjem

[5] On or about February 1, 2016, DWE further invoiced Stenehjem for work
performed under the contract totaling $91,875.60.

[6] As to the Fox Hills project, Stenehjem refused to remit payment, at least in part.

[?] On or about September 15, 2015, DWE also entered into a contract with
Stenehjem under a time and materials contract for certain specified work known as the “Long
Drive Projec ”, in Watford City, North Dakota.

[8] On or about October 6, 2015, DWE invoiced Stenehjem for $20,613 for specified
work performed under the l_,ong Drive contract.

[9] Stenehjem also refused to pay on the Long Drive Project contract, as invoiced by
DWE, at least in part.

[10] On or about February 26, 2016, DWE also entered into a time and materials
contract with Stenehjem for the removal of a temporary sewer tank in Watford City, North
Dakota.

[11] On or about March 16, 2016, DWE invoiced Stenehjem for work performed under
t.‘ne aforementioned contract totaling $2,97'5. On or about May ll, 2016, DWE additionally
invoiced Stenehjem for work allegedly performed under the contract totaling $3,185.

[12] Stenehjem also refused to remit payment as to the temporary sewer removal

project, at least in part.

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[13] On or about August 30, 2016, Auto-Owners former insured, DWE, filed a suit
titled “DW Excavating, Inc. v. Stenehjem Developmenr, LLP.” which is currently pending in
North Dakota State District Court, McKenzie County, Northwest .ludicial District, with case
number 2?-2016-€\¢’-00368. Attached as E`.xhibit A is the Complaint and Answer and
Counterclaim in that action. DWE asserted several claims as it relates to the above-listed
contracts and projects, wherein Stenehjem refused to remit payment. First, DWE alleged material
breach of the Fox Hills contract, including breach of obligation of good faith and fair dealing
under the Fox Hills contract between Stenehjem and DWE, seeking SlOS,?Ol plus interest.
Next, DWE alleged material breach of the Long Drive contract, including breach of the
obligation of good faith and fair dealing, seeking contractual damages totaling $20,613 plus 18%
per annum interest pursuant to the contract. Finally, DWE alleged a material breach of the
parties’ temporary sewer removal contract, including a breach of the obligation of good faith and
fair dealing. DWE filed suit seeking $6,160 plus 6% interest for contractual damages

[14] ln response to the lawsuit initiated by DWE and after refusal to pay, at least in
part, Stenehjem filed counterclaims for breach of contract, negligence, unjust enrichment, and
further sought declaratory relief as to a construction lien brought by DWE. Stenehjem alleged
that DWE failed to complete the project at the specified contract price, failed to provide adequate
supervision of the project, and failed to perform under the contract in a workmanlike manner.

[15] In response to the Stenehjem Counterclaim, DWE filed a claim with its fenner
carrier Auto-Owners and requested Auto-Owners defend and provide indemnity and coverage to

DWE based on the Stenehj em Counterclaim.l

 

' Auto-Owners’ insurance policies issued to DWE. will be addressed more fully below. At the time Stenehjem filed
its counterclaims against DWE, Travelers lnsurance provided CGL coverage to DWE beginning on or about .lune
2016. Auto-Owners‘ policies issued to DWE. were issued in June 2014 and 2015, respectively, for one year terms
and would have generally been active during the course of the construction project between DWE and Stenehjem.

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[16] In response, Auto-Owners issued a reservation of rights letter to DWE contending
that the claims and allegations and damages sought in the counterclaim by Stenehjem against
DWE were not covered under the CGL policy issued by Auto-Owners to DWE. Auto-Owners
reserved all of its rights, obligations, duties, exclusions and exceptions as set forth in the subject
Auto-Owners’ policies issued to DWE.

[l')'] Ajusticiable controversy currently exists among the parties because Auto-Owners
contests and disputes any obligations regarding insurance coverage and defense that are being
claimed by DWE, Stenehjem, and any other Defendants, under the referenced insurance policies
issued by Auto-Owners to DWE.

THE PARTIES

[lS] Auto-Owners lnsurance Company (“Auto-Owners”) is a Michigan corporation,
doing business as a property and casualty insurance company. Auto-Owners maintains its
primary place of business in Lansing, Michigan, but is licensed to do business as an insurer in
various states, including North Dakota. Auto-Owners issued two (2) policies of insurance to DW
Excavating (2014 and 2015, respectively), which are at issue regarding the counterclaims
asserted by Stenehjem Devclopment, LLP against DWE in the underlying North Dakota State
Court lawsuit.

[19] Defendant DW Excavating, lnc. (“DWE,”) is a Washington corporation with its
principal place of business in Davenport, Washington, but from at least 2014 ~ 2016, it was
conducting work in the state of North Dakota and was authorized to do so.

[20] Defendant Stenehjem Development, LLP (“Stenehjern”) is a North Dakota
Limited Liability Partnership with its principal place of business in Watf`ord City, North Dakota

and is or was authorized to conduct business in the State of North Dakota.

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[21] Defendant KLC of Willmar, Inc. (“KLC of Willmar”) is a development and
construction firm based out of Willmar, Minnesota and is or was authorized to conduct business
in the State of North Dakota.

[22] Defendant Travelers lnsurances Company d/bfa Travelers lnsurance (“Travelers
lnsurance”) is a New York Corporation, doing business as a property and casualty insurance
company. Travelers lnsurance maintains its primary place of business in New York City, New
York, but it is incorporated in the state of Minnesota and is licensed to do business as an insurer
in various states, including North Dakota. Travelers lnsurance issued one or more policies of
insurance to DWE which may be implicated by the claims of the underlying litigation and
counterclaims

JURISDICTION AND VENUE

[23] Subject matter jurisdiction is proper under 28 U.S.C. § l332(a)(l) since this is an
action between citizens of different states and the amount in controversy exceeds $?5,000
exclusive of interest and costs.

[24] Venue and personal jurisdiction over DWE and the various defendants is proper
because all parties were doing business in McKenzie County, North Dakota andfor are residents
and citizens of the State of North Dakota during designated policy periods.

[25] The policies of insurance from Auto~Owners (described below) which are the
subject matter of this action, were issued by the Plaintiff Auto-Owners to DWE. Defendant
'l`ravelers also issued policies of insurance to DWE beginning in 2016. Each of these policies of
insurance were designed and intended to insure physical property and business operations of
DWE in North Dakota, for the designated policy periods, subject to all terms, provisions and

exclusions in the policies

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[26] Personal jurisdiction over DWE is proper because the underlying lawsuit initiated
by DWE in North Dakota State Court and the claims asserted therein, as well as the
counterclaims alleged by Stenehjem, arise, in whole or in part, out of DWE’s interstate
communications, commercial dealings, and tortious or contract claims and counterclaims related
to the underlying North Dakota State Court lawsuit and work performed by DWE in North
Dakota alleged above.

FACTUAL BACKGROUND - INSURANCE POLICIES

[2?] On information and belief, Travelers lnsurance issued comprehensive general
liability insurance coverage to DWE and its named insured, for the policy term beginning June
14, 2016 and extending thereafter and effective for a term of one year. Auto-Owners does not
have a copy of the insurance policy or policies that Travelers lnsurance issued to DWE in 2016
and 201")', respectively

[28] Effective as of June 14, 2014, Auto-Owners issued policy number 124608-
33182464-14 for the policy period of June 14, 2014 to June 14, 2015 to its named insured, DWE.
A certified copy of the of 2014 Auto-Owners insurance policy is attached and incorporated as if
set forth verbatim in this paragraph, as Exhibit B.

[29] Effective as of June 14, 2015, Auto-Owners issued policy number 124608-
33182464»15 for the policy period of June 14, 2015 to June 14, 2016 to its named insured, DWE.
A certified copy of the 2015 Auto-Owners insurance policy is attached and incorporated as if set
forth verbatim in this paragraph, as Exhibit C.

[30] As material to the disputes detailed in this Declaratory Judgment Complaint, the
2014 and 2015 Auto-Owners’ policies, afford to DWE comprehensive general liability insurance

coverage subject to all terms, conditions, definitions, limitations and exclusions Hereinafter, the

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2014 and 2015 Auto-Owners policies will be collectively referred to as the “Auto-Owners’
Policies.”
FACTUAL BACKGROUND - AUTO-OWNEB§

[31] On or about October 20, 2016, DWE notified Auto-Owners of the underlying
litigation with respect to Stenehjem’s counterclaims against DWE following DWE’s initiation of
litigation against Stenehj em Development.

[32] After comparing the allegations of the Stenehjem Counterclaim to the terms of the
various Auto-Owners policies, Auto-Owners concluded that it most likely did not owe DWE a
defense or any coverage for the counterclaims asserted by Stenehjem against it. However, Auto-
0wners recognized that at least some of its coverage defenses might be disputed. Accordingly,
on April 25, 201?, Auto-Owners advised DWE that its investigation into the Stenehjem
Counterclaims was ongoing and all rights, exclusions and policy defenses were expressly
reserved and not waived pending a further investigation into the subject underlying lawsuit by
Auto-Owners and its representatives

[33] On April 25, 2017, Auto-Owners provided DWE a detailed statement of Auto-
Owners reservation of ri ghts. A copy of Auto-Owners’ reservation of rights letter is attached and
incorporated as if set forth verbatim in this paragraph, as Exhibit D.

[34] Counts I and II below, detail different coverage defenses which independently
constitute partial or complete defenses to any contention that Auto-Owners is obligated to afford
defense andi'or indemnity coverage for the underlying Stenehjem Counterclaims

[3 5] On information and bclief, each named Defendant contests one or more of the
Counts below. Pursuant to 28 U.S.C. § 2201(a), this Court has jurisdiction and authority to
declare the rights and obligations of the various insurers and parties concerning DWE’s

entitlement to coverage with respect to the underlying Stenehj em Counterclaims

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(The Stenehjem Development Counterclaims Do Not Qualif`y
as Property Damage Coverage Under Auto-Owners Policies)

[36] Auto-Owners repeats and re-alleges paragraphs 1 through 35 above in support of

this Count.

[3 7] Stenehjem’s Counterclaims allege no physical damage to any property or work of
others, outside of DWE..

[38] Pursuant to the provisions of the Auto-Owners’ Policies detailed below, the Auto-
Owners’ Policies afford no coverage to DWE to the extent the counterclaim of Stenehjem alleges
a failure by DWE to complete its work and seeks monetary/economic damages thereof.

[39] ln pertinent part, the Auto-Owners’ Policies define “occurrence,” and “property
damage” by the following provisions

14. “OCCurrence” means an accident, including continuous or repeated
exposure to substantially the same general harmful conditions

**$

18. “Property damage” means:

a. Physical injury to tangible property, including all resulting
loss of use of that property. All such loss of use shall be
deemed to occur at the time of the physical injury that
caused it; or

b. Loss of use of tangible property that is not physically
injured. All such loss of use shall be deemed to occur at
the time of the “occurrence” that caused it.

[40] ln addition, the Auto-Owners’ Policies define “Your Product” and “Your Work”
to mean the following:

25. “Your product”
a. means:

(1) Any goods or products other than real property,
manufactured, sold, handled, distributed or disposed
of by:

(a) You;
(b) Others trading under your name; or

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(c) A person or organization whose business or
assets you have acquircd; and

(2) Containers (other than vehicles), materials, parts or
equipment furnished in connection with such goods
or products

b. includes:

(l) Warrantics or representations made at any time with
respect to the fitness quality, durability,
performance of use of “yo ur product”; and

(2) The providing of or failure to provide warnings or
instructions

c. does not include vending machines or other property rented
to or located for the use of others but not sold.

26. “Your work”
a. means:
(1) Work or operations performed by you or on your
behalf; and
(2) Materials, parts, or equipment furnished in
connection with such work or operations

b. includes:

(l) Warranties or representations made at any time with
respect to the fitness, quality, durability
performance or use of “your work”; and

(2) The providing of or failure to provide warnings or
instructions

[41] However, a covered “occurrence” causing “property damage” is then limited by
the Auto-Owners’ Policies’ exclusions so as not to afford coverage in the following described
circumstances

This insurance does not apply to:

a. Expected or intended lnjury
“Bodily inj ury” or “property damage” expected or intended from
the standpoint of the insured, This exclusion does not apply to
“bodily injury” resulting from the use of reasonable force to

protect persons or property.

b. Contractual Liability

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“Bodily injury” or “property damage” for which the insured is
obligated to pay damages by reason of the assumption of liability
in a contract or agreementl

j. Damage to Property
“Property damage” to:

* $ *
(6) That particular part of any property that must be restored,

repaired or replaced because “your work” was incorrectly
performed on it.

$ =l¢ *
k. Damage to Your Product
“Property damage” to “your product” arising out of it or any part
of it.
l. Damage to Your Work

“Propeity damage” to “your work” arising out of it or any part of it
and included in the “product-completed operations hazar .”

[42] The Auto-Owners’ Policies also limit coverage for liabilities arising from a
“Products-Cornpleted Operations l-lazard.” “Products-Completed Operations hazards” arc
defined, in pertinent part, to mean:

l9. “Products-completed operations hazard”

a. includes all “bodily injury” and “property damage”
occurring away from premises you own or rent and arising
out of “yo ur product" or “your work” except:

(l) Products that are still in your physical possession;
or
(2) Work that has not yet been completed or
abandoned
However, “your wor ” will be deemed completed at the
earliest of the following times:
(a) When all of the work called for in your
contract has been completed; or
(b) When all of the work to be done at the job
site has been completed if your contract
calls for work at more than one job site; or
(c) When that part of the work done at a job site
has been put to its intended use by any
person or organization other than another

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contractor or subcontractor working on the
same proj ect.

Work that may need service, maintenance, correction, repair, or re-
placement, but which is otherwise complete, will be treated as
competed.

[43] 'I`he Stenehjem Counterclaim alleges that DWE promised but failed to properly
perform all the work necessary to complete the residential development projects as specified in
the parties’ contract The Stenehjem Counterclaim further alleges that DWE failed to complete
the project for the specified contract price, failed to complete the project at all, failed to perform
the contract in a workmanlike marmer, and failed to adequately supervise the project. To the
extent that DWE’s liability arises directly or indirectly from defects or deficiencies in its own
work, the losses arising from such conduct would not qualify as an “accidenr” and thus would
not qualify for coverage as an “0c'currence.“ Additionally, to the extent that the Stenehjem
Counterclaim relates to defects or deficiencies in DWE’s own “work”, such losses would also be
excluded under the subject Auto-Owners’ policy issued to DWE based on the “property damage”
to “your work” exclusion in the Auto-Owners’ Policies, among others

[44] The Stenehjem Counterclaim further alleges that DWE, was negligent in its
performance of work under the specified contract and that DWE owed a duty to exercise
reasonable care so as not to damage Stenehjem’s property, that DWE breached such duty, and
that Stenehjem was harmed as a result. To the extent that DWE’s liability arises directly or
indirectly in the negligent exercise of work under the specified project, the Auto-Owners’
Policies afford no coverage by reason of exclusions “j", “k”, and “l” which excludes coverage
for “property damage to work that must be repaired restored,” “property damage to your
product" and “property damage to your wor ” respectively.

[45] The underlying Stenehjem Counterclaim alleges that DWE breached its express

and its implied warranties regarding the quality and fitness of its work. To the extent that

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DWE’s liability arises directly or indirectly from any breach of contract warranties or other
contract obligations the Auto-Owners’ Policies afford no coverage by reason of exclusion (b) -
“property damage ” for which the insured is obligated to pay damages by reason of the
assumption of liability in a contract or agreement

[46] 'l" he Stenehjem Counterclaims against DWE are unclear as to whether the alleged
defective or negligent work performed by DWE arises from, or is related to, the work DWE
performed or failed to perform on the subject project. To the extent that the damages alleged by
Stenehjem include claims for damage associated with DWE’s work, the Auto-Owners’ Policies
afford no coverage by reason of the provisions of exclusion (l) - “Property Damage” to “your
work” arising our of it or any part of it and included in the “product-completed operations
hazard’ andior exclusion (j) - “Property damage” to . . . That particular part of any property
that must be restored repaired or replaced because "your work” was incorrectly performed on
it.

COUNT ll

(Thcre is No Coverage Under the Auto-Owners Policies for Damage to Property
lncurporating DW Excavating’s Work)

[42] Auto-Owners repeats and re-alleges paragraphs l through 46 above in support of
this Count.

[48] Pursuant to the provisions of the Auto-Owners’ Policies detailed hereinafter
below, the Auto~Owners’ Policies afford no coverage for property damage to property which is
damaged solely by reason of the incorporation of DWE’s work.

[49] ln pertinent part, the Auto-Owners’ Policies define “Impaired Property,” by the
following provisions:

ll. “lmpaired Property” means tangible property, other than “your

product” or “your work” that cannot be used or is less useful
because:

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a. lt incorporates “your product” or “your work” that is
known or thought to be defective, deficient, inadequate or
dangerous; or

b. You have failed to fulfill the terms of a contract or
agreementl

If such property can be restored to use by:

a. The repair, replacement, adjustment or removal of “your
product” or “your work”; or

b. Your fulfilling the terms of the contract or agreement

[50] 'l` he Stenehjem Counterclaim combined with DWE’s Complaint, describe sewer,
water, and excavation services which DWE provided in support of Stenehjem’s development of
the subject property.

[51] The Stenehjem Counterclaim describes real property upon which DWE performed
work but which work now allegedly needs repair, replacement, adjustment, or removal in order
to restore the usefulness or value of the property and/or development project.

[52] As described in the Stenehj em Counterclaim, the property upon which DWE work
was performed qualifies as “impairedproperty.”

[53] To the extent that the damages alleged by Stenehjem arise from damage to
“impaired property,” the Auto-Owners’ Policies bar coverage for such claims by the following
exclusion:

m. Damage to lmpaired Property or Property Not Physically lnj ured
“Property damage” to “impaired property” or property that has not
been physically inj ured, arising out of:

(l) A defect, deficiency, inadequacy or dangerous condition in
“your product” or “your work”; or

(2) A delay or failure by you or anyone acting on your behalf
to perform a contract or agreement in accordance with its
terms...

[54] The provisions of exclusion (m) bar coverage for both physical injury to

“impaired property” caused by the incorporation of defective DWE work, and for non-physical

injury caused by the incorporation of defective DWE work. Non-physical injury may include the

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natural and ordinary consequences of defective workmanship, “frustrated commercial
expectations”, breach of contract damages andior other types of “economic loss" which cause
the claimants to incur loss or diminution of value in other property, without physical injury to the
impaired property.

[55] Auto-Owners reserves all other terms and exclusions in Auto-Owners’ Policies
even if not cited above, that may apply to exclude coverage for the Stenehjem Counterclaim
Citation to specific terms and exclusions above does not waive others that may apply. All are
preserved.

RELIEF REQUESTED

WHEREFORE, Auto-Owners lnsurance Company asks that this Court grant it
declaratory and other relief as follows:

(A) (Count l) find and declare that the claims asserted in the Stenehjem Counterclaim
do not qualify as an “occurrence” and are accordingly not entitled to coverage under the Auto-
Owners’ Policies;

(B) (Count l) find and declare that the claims asserted in the Stenehjem Counterclaim
arise from defects and deficiencies in the “work” performed by DWE, which are excluded from
coverage under exclusion (a);

(C) (Count l) find and declare that the claims asserted in the Stenehjem Counterclaim
arise from express or implied contract warranty liabilities which are excluded from coverage
under exclusion (b);

(D) (Count 1) find and declare that the claims asserted in the Stenehjem Counterclaim
arise from contract liabilities which have been assumed by DWE and which are thus excluded

coverage under exclusion (b);

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(E) (Count l) find and declare that the claims asserted in the Stenehjem Counterclaim
arise from damage to DWE’s “wor ”, which are excluded from coverage under exclusion (l);

(F) (Count l) find and declare that the claims asserted in the Stenehjem Counterclaim
arise from the need to restore, repair or replace property that was damaged by DWE’s “wor ”,
which are excluded from coverage under exclusion (j);

(G) (Count ll) find and declare that the claims asserted in the Stenehjem Counterclaim
arise from the need to restore, repair or replace “impaired property” that was damaged by
incorporation of DWE’s “wor ”, which are excluded from coverage under exclusion (m);

(H) (All Counts) find and declare that the Auto-Owners Policies and all applicable
terms limitations provisions and exclusions contained therein, do not afford indemnity
coverage of defense obligations to DWE in relation to the Stenehjem counterclaims;

(l) Award plaintiff its costs disbursements and attorneys’ fees incurred herein; and

(J) For such other and further relief as the Court deems just and proper.

Dated this 2 gday of October, 201?. 0 // §

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Sean F. Marrin #07847

MORLEY LAW FIRM, LTD.

4000 Garden View Drive, Suite 100

PO Box 4519

Grand Forks ND 58208-4519

('?01) 772-2266
mmorlev@,morlevlawfirm.com
Smarrin('a},morlevlawfirm.com

Counsel for Auto-Owners lnsurance Company

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